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                            UNITED STATES DISTRICT COURT
                                       FOR THE
                             DISTRICT OF MASSACHUSETTS

                                                    Civil Action No. 4:12-cv-40022

SUSAN J. TRAINOR      )
     Plaintiff        )
                      )
           v.         )
MONTACHUSETT REGIONAL )
 TRANSIT AUTHORITY,   )
 KAREN CORDIO AND     )
 DONNA LANDRY,        )
     Defendants       )

                           COMPLAINT AND JURY DEMAND

                                         Introduction

       1.       Plaintiff was an employee of Defendants and had, at all relevant times,

disabilities that were well-known to Defendants. Plaintiff was, at all relevant times, a

qualified individual with a disability under the Americans With Disabilities Act, 42 U.S.C.

§§ 12101, et seq. (the “ADA”) and M.G.L. c. 151B, and Plaintiff was further entitled to the

benefits and protections of the Federal Family And Medical Leave Act (“FMLA.”)

Plaintiff’s claims herein arise out of Defendants’ failure to allow Plaintiff the leave to

which she was entitled under the FMLA, failure and refusal to accommodate Plaintiff’s

disability and termination of Plaintiff based on her disability in violation of the ADA, and

interference with Plaintiff’s rights and retaliation against her for exercising her rights

under the ADA, FMLA and M.G.L. c. 151B.


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                                             Parties

       2.       Plaintiff Susan J. Trainor (“Susan”) is an individual residing in

Hubbardston, Worcester County, Massachusetts.

       3.       Defendant Montachusett Regional Transit Authority (“MART”) is a regional

transportation authority established under Chapter 161B of the Massachusetts General

Laws, and maintains a facility in Fitchburg, Worcester County, Massachusetts.

       4.       The Defendant Karen Cordio (“Cordio”) is, upon information and belief, an

individual residing in Massachusetts.

       5.       The Defendant Donna Landry (“Landry”) is, upon information and belief,

an individual residing in Massachusetts.

       6.       MART, Cordio and Landry are collectively referred to hereinafter as the

“Defendants.”

                                   Jurisdiction And Venue

       7.       Jurisdiction is proper pursuant to 28 U.S.C. § 1331 inasmuch as Susan’s

claims arise, in part, under the laws of the United States.

       8.       Venue is proper pursuant to 28 U.S.C. § 1391 inasmuch as (i) a substantial

part of the events occurred in Massachusetts and (ii) Defendants are subject to personal

jurisdiction in Massachusetts.




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                       Factual Allegations Applicable To All Counts

       9.       MART is, and has been at all relevant times, a regional transportation

authority established under M.G.L. c. 161B. MART provides transportation services in

North Central Massachusetts. At all relevant times, MART has maintained a facility in

Fitchburg, Massachusetts (the “Fitchburg Facility.”)

       10.      MART employed Susan as a Staff Assistant at the Fitchburg Facility from

June 11, 2007 until July 12, 2011. Susan initially worked in MART’s Billing Department

and was later transferred to MART’s Call Center. With the exception of times during

which Susan took leave pursuant to the FMLA, Susan generally worked a daytime shift

from 8:00 a.m. until 4:00 p.m., and generally worked 37.5 to 40 hours weekly.

       11.      MART terminated Susan on July 12, 2011. Immediately prior to her

termination, MART paid Susan at an hourly rate of $13.89 and Susan worked as Staff

Assistant in MART’s Call Center at the Fitchburg Facility.

       12.      At all relevant times, Cordio was the Program Manager of MART’s Call

Center. While Susan worked in the Call Center, up to and including the date of her

termination, Susan reported directly to Cordio.

       13.      Upon information and belief, at all relevant times, including without

limitation on July 12, 2011, Cordio was a managerial-level employee of MART and

exercised control, on MART’s behalf, over the terms and conditions of Susan’s




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employment with MART. Cordio’s control included without limitation the authority to

terminate Susan’s employment.

       14.    Upon information and belief, at all relevant times, Landry was MART’s

Director of Operations and Human Resources. Landry was responsible for, among other

things, ensuring that MART’s employees, including Cordio, complied with the ADA,

FMLA and M.G.L. c. 151B.

       15.    At all relevant times, including without limitation on July 12, 2011, Landry

was a managerial-level employee of MART and exercised control, on MART’s behalf, over

the terms and conditions of Susan’s employment with MART. Landry’s control included

without limitation the authority to terminate Susan’s employment.

       16.    As described more fully below, Susan requested two separate leaves under

the FMLA during her employment with MART. The first FMLA leave occurred over a

period of several months, beginning and ending in 2010 (and is hereinafter sometimes

referred to as the “2010 FMLA Leave.”) Susan’s second FMLA leave began in early 2011

(and is hereafter sometimes referred to as the “2011 FMLA Leave.”)

       17.    At least until her 2011 FMLA Leave, Susan generally received favorable

annual performance reviews and raises from MART. For instance, in her June 2008 and

June 2009 reviews, she received pay increases. On or about July 1, 2010, she received an

additional increase.




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       18.    In January 2010, Susan was diagnosed with diabetes. Around the same

time, Susan’s daughter was experiencing significant depressive symptoms. As a result of

her daughter’s need for care, Susan requested and received from MART the 2010 FMLA

Leave. After exhausting her leave time in connection with the 2010 FMLA Leave, Susan

resumed working Monday through Friday from 8a to 4p.

       19.    By about March or April 2010, Susan began to experience frequent pain and

swelling in her hands and feet. Susan thereafter contacted her primary care provider,

Kelly Hoisington, D.O. (“Dr. Hoisington”) regarding the pain and swelling. After some

testing, Dr. Hoisington told Susan that he suspected rheumatoid arthritis and referred

Susan to a podiatrist, Dr. Paula Fontaine (“Dr. Fontaine”) and another specialist.

       20.    At that time, Susan was working as a Staff Assistant in MART’s Billing

Center. Around that same time, MART began requiring the Staff Assistants in the Billing

Center to walk the Fitchburg Facility and collect money from the parking meters. Because

of the increasing pain and swelling in her feet, Susan asked to be excused from this newly-

created requirement and provided a note from Dr. Fontaine’s office regarding same.

       21.    In or around the Summer of 2010, MART announced to the Billing

Department Staff Assistants that one would be selected for transfer to the Call Center. At

the time, MART employed five Staff Assistants in the Billing Center, including Susan.

MART selected Susan for transfer.




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        22.   Upon information and belief, MART selected Susan for transfer because of

her 2010 FMLA Leave and/or her prior request to be excused from walking the Fitchburg

Facility to collect from the parking meters.

        23.   As a result of the transfer, Susan began working as a Staff Assistant in

MART’s Call Center from approximately September 2010 until her termination on July 12,

2011. While working in the Call Center, Susan reported directly to Cordio.

        24.   At all relevant times, a Call Center Staff Assistant’s job duties were to take

calls from certain eligible recipients and assist with coordinating recipients’ transportation

to and from medical appointments. At all relevant times, the Call Center was open 8a – 5p

Monday through Friday. During the time Susan worked in MART’s Call Center, the

number of Staff Assistants in the Call Center grew from twenty-three (23) to twenty-eight

(28.)

        25.   Susan subsequently consulted one Alice A. Williams, a rheumatologist

(hereinafter, “Dr. Williams”) in October 2010 for her ongoing symptoms, which symptoms

included joint pain and swelling. Dr. Williams confirmed Susan’s diagnosis of arthritis

and began treating Susan for same and related symptoms.

        26.   Inflammatory arthritis is an autoimmune disorder, in which the body views

its own tissues as foreign and reacts with inflammation. In some cases – and, specifically,

in Susan’s case – the inflammatory arthritis is also accompanied by Irritable Bowel




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Syndrome (hereinafter, “IBS.”) IBS, in turn, produces symptoms that include recurring

abdominal cramps and diarrhea.

       27.    For Susan, her IBS symptoms often struck without warning and, when the

symptoms flared, she would be confined to a bathroom and sometimes unable to even get

to a phone. There were occasions when she left her house in the morning with plenty of

time to drive to work, only to then have to find a place to stop and use a bathroom,

causing her to arrive late for work.

       28.    Susan attempted several strategies to avoid having the IBS symptoms cause

her to miss or arrive late for work. For instance, she tried taking her medication at

different times during the day (including by waking up at or shortly after midnight.) She

tried to avoid eating or drinking anything in the morning before work (which,

unfortunately, then created problems with her blood sugar level, which she had to

monitor in connection with her diabetes diagnosis.) She also tried to awake earlier in the

morning so that the diarrhea would pass before she had to leave for work. These

strategies had limited success, however.

       29.    By approximately November or December 2010, Cordio began criticizing

Susan for being tardy. On at least one occasion, Cordio told Susan that, if Cordio allowed

Susan to arrive late, then Cordio would have to allow everyone else to come in late and

people would start coming in late because they stopped at Dunkin’ Donuts. Other times,

Cordio told Susan that co-employees were complaining because of Susan’s tardiness.


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         30.   Susan continually explained to Cordio that her diagnoses and the related

symptoms caused Susan’s tardiness. Also, on more than one occasion, Susan requested

accommodations from Cordio. For instance, Susan asked Cordio to allow Susan to make

up time at the end of the day on the occasions when Susan’s symptoms caused Susan to

come in late. Susan’s hours were 8a to 4p, but the Call Center was open until 5p so there

was a window at the end of the day where she could make up the time. Cordio initially

granted Susan this accommodation, allowing Susan to make up time at the end of the days

on which she arrived late. As explained below, however, this accommodation was short-

lived.

         31.   By late 2010, MART was advertising different positions internally, including

a position in the Scheduling Department and as Supervisor of the Call Center, which

positions Susan applied for. MART filled these positions with other employees. MART

considered Susan’s attendance and tardiness as factors in not selecting Susan for these

positions, although MART was aware of Susan’s diagnoses and requested

accommodations.

         32.   At one point in late 2010 or early 2011, either Landry or Cordio told Susan

that she would have to apply for leave under the FMLA in connection with the absences

and/or tardiness caused by Susan’s symptoms, telling Susan that she was running out of

sick or vacation time to use when her symptoms required her to take time off.




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       33.    In the meantime, sometime in January or February 2011, Susan was moved

to the “greeter’s desk” in the Call Center. The “greeter’s desk” is the position in which one

of the Call Center Staff Assistant’s is responsible for greeting walk-in customers and

buzzing employees into the Call Center (which was a locked room at the Fitchburg

Facility.) Being at this desk exposed Susan to more people, caused Susan’s symptoms to

worsen and caused her to become ill more often -- likely because the arthritis prescriptions

weakened her immune system.

       34.    Susan told Cordio that being seated at the “greeter’s desk” was exacerbating

Susan’s symptoms, and that Susan did not want to become sick more frequently and miss

work. Consequently, Susan asked Cordio if she (Susan) could be moved off of the

“greeter’s desk.” Cordio initially said she would consider Susan’s request.

       35.    On January 21, 2011, Dr. Williams faxed to one of MART’s Call Center

Supervisors a certification explaining Susan’s inflammatory arthritis, the secondary IBS

and the manner in which those conditions impacted Susan. A copy of the faxed

certification is attached hereto as Exhibit A.

       36.    On January 24, 2011, MART approved Susan to take leave under the FMLA

(which leave is sometimes hereinafter referred to as the “2011 FMLA Leave.”) A true and

complete copy of said approval is attached hereto as Exhibit B.




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       37.    Despite MART’s January 24, 2011 approval, Cordio gave Susan a verbal

warning on January 26, 2011 for what Cordio characterized as “consistent tardiness.” A

true and complete copy of Cordio’s January 26, 2011 memorandum to Susan concerning

said verbal warning is attached hereto as Exhibit C.

       38.    When Cordio issued the January 26, 2011 warning to Susan, Cordio knew

that (i) Susan’s medical issues were causing the tardiness, and (ii) Susan believed that her

FMLA approval would “cover” her for tardiness. Cordio did not, however, engage

further dialogue with Susan regarding a possible accommodation. Instead, Cordio took

the position that Susan must arrive precisely at 8:00 a.m. daily because Susan’s “FMLA

form does not indicate that you must be late for work every day.”

       39.    On January 27, 2011, Susan spoke to Landry about the 2011 FMLA Leave

and Susan’s tardiness. Landry said that the then-approved leave did not “cover *Susan’s+

tardies.”

       40.    On January 28, 2011, Landry sent Susan a memo indicating that the need to

use the previously-approved FMLA leave to arrive to work late or leave early was not

consistent with what Dr. Williams provided in her certification. Landry further requested

that Dr. Williams clarify the details of Susan’s leave. A true and complete copy of

Landry’s January 28, 2011 memo to Susan is attached hereto as Exhibit D.




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       41.    Susan complied with Landry’s request by obtaining a February 10, 2011 note

from Dr. Williams, clarifying that the symptoms related to the IBS and arthritis may cause

Susan to be late to work, leave work early and also require absence from work for up to

three days per week. A true and complete copy of the February 10, 2011 note is attached

hereto as Exhibit E.

       42.    On or shortly after February 10, 2011, MART accepted the above-referenced

note and approved Susan’s use of leave under the FMLA for occasions when her

symptoms and/or medical treatment caused Susan to arrive late for work, leave early from

work or miss a day of work.

       43.    Cordio’s reaction was swift. Shortly after receiving the clarification from Dr.

Williams, Cordio told Susan that she (Susan) would no longer be allowed to stay later in

the day to make up time that she missed in the morning (instead forcing Susan to use

FMLA-designated time.) At the same time, Cordio denied Susan’s prior request to move

her desk. Shortly thereafter, when Susan again requested (at her doctor’s advice) that

MART allow her to move her desk, Cordio told Susan to put her request in writing.

       44.    On March 4, 2011, after Susan requested same in writing, Cordio allowed

Susan to move her desk. On the exact same day, however, Cordio told Susan that she

must call to inform Cordio (who would not even be there to answer the call) on each

morning that Susan was using FMLA-designated leave, even if Susan were only one

minute late (a condition not applied to other similarly-situated employees and even


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though Susan was already calling in on the mornings that she would be more than a few

minutes late.) Cordio also told Susan that she must explicitly reference “FMLA” when she

called in. Otherwise, according to Cordio, Susan would be disciplined. Also on March 4,

2011, Cordio placed a written warning in Susan’s file for a “scheduling error” that MART

alleged occurred nine days earlier.

       45.      Four days later, on March 8, 2011, Cordio issued another written warning to

Susan. A true and complete copy of the March 8, 2011 written warning is attached hereto

as Exhibit F.

       46.      Susan tried, on many occasions including on March 8th, to explain to Cordio

that there were days when Susan literally could not get to a phone to call, as well as days

when Susan was late without calling before 8a because she had an accident on the way to

work and soiled her pants.

       47.      Cordio responded by telling Susan “if you have a problem with how I am

handling this, then go talk to Cheryl” (referring to Cheryl Montouri, one of MART’s

supervisors and hereinafter referred to as “Ms. Montouri.”) When Susan spoke to Ms.

Montouri, Susan became very emotional and told Ms. Montouri that she (Susan) felt like

she was buckling under the pressure that Cordio was placing on her. Ms. Montouri told

Susan to “just keep calling.” Susan asked Ms. Montouri about a reassignment to another

department, such as back to the Billing Center. Ms. Montouri told Susan that no position

was available.


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         48.   On April 6, 2011 Susan received an additional written warning from Cordio.

A true and complete copy of the April 6, 2011 written warning is attached hereto as

Exhibit G.

         49.   Susan told Cordio, again, that there were days when she literally could not

get off of the toilet or days when she was driving to work and had to look for a place to go

to the bathroom. Cordio told Susan to call her every single day before she left the house.

Susan questioned Cordio as to what would happen to her when the 2011 FMLA leave

expired (that is, the leave Susan was using when she was coming in late.) Cordio

responded that Susan would be terminated the very first time she was late. Susan then

began to cry. Cordio responded by telling Susan that she (Susan) was unprofessional and

had to get her emotions under control.

         50.   From that point until her termination on July 12, 2011, Susan called MART

daily and left a message for Cordio (because Cordio was not there before 8a to take

Susan’s call) to say that Susan was leaving her house.

         51.   Some point after Susan received the April 6th warning, Susan contacted

Landry and spoke to her by phone. Susan told Landry that she knew the 2011 FMLA

leave was expiring, and asked about MART thereafter providing an accommodation to

Susan in light of her medical issues. Landry said she would look into this and respond to

Susan.




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       52.     By email dated May 27, 2011, Susan told Landry that she (Susan) was

concerned that Cordio would terminate Susan as soon as the 2011 FMLA Leave expired,

and asked Landry to consider providing Susan an accommodation. A true and complete

copy of Susan’s May 27, 2011 email to Landry is attached hereto as Exhibit H.

       53.     By email dated June 1, 2011, Landry responded by suggesting to Susan that

she change her work hours from 8:30a to 4:30p or 9:00a to 5:00p. Susan, in turn,

responded by telling Landry, among other things, that Susan was able to do this except on

those days when she needed to leave earlier for medical appointments. A true and

complete copy of the aforementioned email exchange between Susan and Landry is

attached hereto as Exhibit I.

       54.     By email dated July 6, 2011, Landry provided Susan’s FMLA balances to her

(as of June 17, 2011) and further stated that MART would work with Susan to

accommodate her after the FMLA leave expired.

       55.     Other than the July 6, 2011 email referred to above, Landry did not (i)

attempt after June 1,, 2011 to discuss accommodations with Susan or (ii) otherwise respond

to Susan’s June 1,, 2011 email.

       56.     By email dated Monday, July 11, 2011, Susan responded to Landry’s July 6th

email, informing Landry that she (Susan) “was told none [sic] ever told Karen [Cordio] or

Cheryl [Montouri] what would happen when the fmla ran out. Also at this point when I am out I

am required to write fmla, when this runs how [sic], how is it to appear on my time sheets? Do I


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write disability??” A true and complete copy of Landry’s July 6, 2011 email to Susan, and

Susan’s July 11, 2011 response to Landry, are attached hereto as Exhibit J.

         57.   Landry did not respond to Susan’s July 11, 2011 email.

         58.   On Tuesday, July 12, 2011, MART terminated Susan’s employment, claiming

that she was tardy on July 8th and failed to call in. Landry, Cordio, and one Rebecca

Bagley – along with Susan -- attended the July 12th termination meeting. Before leaving

the July 12th meeting, Susan said that she was certain she had called in on July 8th and

asked that someone re-check the phone records. Landry refused to do so, instead telling

Susan that she (Landry) was “not going to argue” with Susan. Attached hereto as Exhibit

K is a true and complete copy a July 12, 2011 letter Susan received from MART regarding

her termination.

         59.   Landry then escorted Susan to her desk. While watching Susan pack her

personal belongings, Landry repeated to Susan “don’t take anything that belongs to

MART.” After retrieving her personal belongings, Susan left her workstation, but did not

make it out of the building before she broke down in tears.

         60.   Despite MART’s assertions, Susan called MART on July 8, 2011 from her

home and cell phones at 7:17 a.m. and 8:39 a.m., respectively.

         61.   At the time of her termination, Susan had not exhausted the 2011 FMLA

Leave.




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       62.    At all relevant times, including without limitation on July 12, 2011, Susan

was a “qualified individual with a disability” under the ADA.

       63.    At all relevant times, including without limitation on July 12, 2011, Susan

was entitled to the benefits and protections of the FMLA.

       64.    By virtue of her written and verbal communications with MART, as alleged

above, MART knew and/or reasonably should have known that Susan’s arthritis, diabetes

and IBS diagnoses, and the related symptoms, were the reasons for her absences from

work, tardiness and/or inability to call Cordio at certain times. These communications, as

alleged above, either individually and/or collectively triggered MART’s obligation to

engage in a dialogue with Susan to attempt to identify a means to reasonably

accommodate Susan’s diagnoses and related symptoms.

       65.    Defendants failed to engage in a dialogue sufficient to determine a

reasonable accommodation for Susan’s disabilities, failed and refused to accommodate

Susan’s disabilities and terminated Susan because of those disabilities and/or because of

her requests for accommodations, her internal complaints regarding MART’s failure to

provide accommodations, and/or use of FMLA leave.

       66.    Susan’s requests to Defendants for accommodations, requests for and use of

leave under the FMLA, and Susan’s internal complaints regarding MART’s compliance

with the FMLA and failure to provide accommodations, as alleged above, constitute

activity protected from retaliation and/or interference.


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       67.    At all relevant times, Susan acted in good faith and was reasonable in the

requests she made to Defendants, and acted with a good-faith belief that MART’s conduct

was unlawful.

       68.    After July 12, 2011, Susan’s position remained open and MART sought to fill

that position with a replacement.

       69.    MART’s, Landry’s and Cordio’s violations of the ADA, FMLA and M.G.L. c.

151B have caused Susan to suffer damage, including without limitation to lost wages and

emotional distress.

       70.    On or about October 21, 2011, Susan filed Charges with the Massachusetts

Commission Against Discrimination and the Equal Employment Opportunity

Commission regarding the above-referenced allegations.

       71.    By letters dated December 22, 2011 and February 24, 2012, Susan received

from the Commissions permission to commence the within civil action.

                                         COUNT I

        (Violation of M.G.L. c. 151B - Termination On The Basis Of Handicap –
                                Against All Defendants)

       72.    Susan restate and incorporate herein by reference the allegations set forth in

paragraphs 1 through 71 above.

       73.    At all relevant times, Susan was a “handicapped person,” as that term is

defined by M.G.L. c. 151B, §§ 1(17) and 1(19).



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       74.    At all relevant times, Susan was able, with reasonable accommodations, to

perform the essential functions of her job. Said reasonable accommodations included,

without limitation, one or more of the following (i) allowing Susan to intermittently make

up time at the end of a workday, or within a reasonable time thereafter, when medical

conditions or medical appointments caused her to arrive late to work or otherwise miss

time from work, (ii) allowing Susan intermittent unpaid time off beyond the expiration of,

or in place of, leave permitted under the FMLA when medical conditions or medical

appointments caused Susan to arrive late to work or otherwise miss time from work,

and/or (iii) modifying its call-in policy with respect to Susan to accommodate occasions

when her symptoms prevented complying with said policy.

       75.    On July 12, 2011, MART terminated Susan’s employment.

       76.    MART’s termination of Susan’s employment was motivated, at least in part,

by Susan’ handicaps.

       77.    After MART terminated Susan, Susan’s position remained open and MART

sought to fill that position and/or hired a replacement for Susan’s position.

       78.    As a result of MART’s termination of Susan, Susan has suffered substantial

injury and damage.




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                                        COUNT II

    (Violation of M.G.L. c. 151B – Failure To Provide Reasonable Accommodation –
                                Against All Defendants)

       79.    Susan restate and incorporate herein by reference the allegations set forth in

paragraphs 1 through 78 above.

       80.    At all relevant times, Susan was a “handicapped person,” as that term is

defined by M.G.L. c. 151B, §§ 1(17) and 1(19).

       81.    At all relevant times, Susan was able, with reasonable accommodations, to

perform the essential functions of her job. Said reasonable accommodations included,

without limitation, one or more of the following (i) allowing Susan to intermittently make

up time at the end of a workday, or within a reasonable time thereafter, when medical

conditions or medical appointments caused her to arrive late to work or otherwise miss

time from work, and/or (ii) allowing Susan intermittent unpaid time off beyond the

expiration of, or in place of, leave permitted under the FMLA when medical conditions or

medical appointments caused Susan to arrive late to work or otherwise miss time from

work and/or (iii) modifying its call-in policy with respect to Susan to accommodate

occasions when her symptoms prevented complying with said policy.

       82.    Defendants could have provided reasonable accommodations to Susan,

including without limitation the accommodations noted in the above paragraph, without

posing an undue hardship to MART’s business.

       83.    When Susan was terminated, Defendants knew of Susan’s handicaps.
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       84.    When Susan was terminated, Defendants knew that Susan needed

reasonable accommodations in order to perform the essential functions her job.

       85.    At various times before June 12, 2011, Susan requested reasonable

accommodations from Defendants.

       86.    At various times before June 12, 2011, Susan triggered Defendants’

obligation to engage in a dialogue with Susan to determine whether a reasonable

accommodation was available that would have allowed Susan to perform the essential

functions of her job.

       87.    Defendants failed to engage in a dialogue with Susan and/or undertake a

reasonable investigation to identify a means to reasonably accommodate Susan’s

handicaps.

       88.    Defendants failed and refused to provide a reasonable accommodation to

Susan’s handicaps.

       89.    As a result of Defendants’ failure to accommodate Susan’s handicaps, Susan

has suffered substantial injury and damage.

                                         COUNT III

                        (Violation of Americans With Disabilities Act –
                          Termination On The Basis Of Disability –
                                      Against MART only)

       90.    Susan restates and incorporates herein by reference the allegations set forth

in paragraphs 1 through 89 above.


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       91.    At all relevant times, Susan had a “disability,” as that term is defined by 42

U.S.C. § 12102(1).

       92.    At all relevant times, Susan was able, with reasonable accommodations, to

perform the essential functions of her job. Said reasonable accommodations included,

without limitation, one or more of the following (i) allowing Susan to intermittently make

up time at the end of a workday, or within a reasonable time thereafter, when medical

conditions or medical appointments caused her to arrive late to work or otherwise miss

time from work, and/or (ii) allowing Susan intermittent unpaid time off beyond the

expiration of, or in place of, leave permitted under the FMLA when medical conditions or

medical appointments caused Susan to arrive late to work or otherwise miss time from

work and/or (iii) modifying its call-in policy with respect to Susan to accommodate

occasions when her symptoms prevented complying with said policy.

       93.    On July 12, 2011, MART terminated Susan’s employment.

       94.    MART’s termination of Susan’s employment was motivated, at least in part,

by Susan’s disabilities.

       95.    After MART terminated Susan, Susan’s position remained open and MART

sought to fill that positions and/or hired replacements for Susan’s position.

       96.    As a result of MART’s termination of Susan, Susan has suffered substantial

injury and damage.




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                                        COUNT IV

                      (Violation of Americans With Disabilities Act –
                     Failure To Provide Reasonable Accommodation –
                                   Against MART Only)

       97.    Susan restates and incorporates herein by reference the allegations set forth

in paragraphs 1 through 96 above.

       98.    At all relevant times, Susan had a “disability,” as that term is defined by 42

U.S.C. § 12102(1).

       99.    At all relevant times, Susan was able, with reasonable accommodations, to

perform the essential functions of her job. Said reasonable accommodations included,

without limitation, one or more of the following (i) allowing Susan to intermittently make

up time at the end of a workday, or within a reasonable time thereafter, when medical

conditions or medical appointments caused her to arrive late to work or otherwise miss

time from work, and/or (ii) allowing Susan intermittent unpaid time off beyond the

expiration of, or in place of, leave permitted under the FMLA when medical conditions or

medical appointments caused Susan to arrive late to work or otherwise miss time from

work and/or (iii) modifying its call-in policy with respect to Susan to accommodate

occasions when her symptoms prevented complying with said policy.

       100.   Defendants could have provided reasonable accommodations to Susan,

including without limitation the accommodations noted in the above paragraph, without

posing an undue hardship to MART’s business.


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       101.   When Susan was terminated, Defendants knew of Susan’s handicaps.

       102.   When Susan was terminated, Defendants knew that Susan needed

reasonable accommodations in order to perform the essential functions her job.

       103.   At various times before June 12, 2011, Susan requested reasonable

accommodations from Defendants.

       104.   At various times before June 12, 2011, Susan triggered Defendants’

obligation to engage in a dialogue with Susan to determine whether a reasonable

accommodation was available that would have allowed Susan to perform the essential

functions of her job.

       105.   Defendants failed to engage in a dialogue with Susan and/or undertake a

reasonable investigation to identify a means to reasonably accommodate Susan’s

handicaps.

       106.   Defendants failed and refused to provide a reasonable accommodation to

Susan’s handicaps.

       107.   As a result of Defendants’ failure to accommodate Susan’s handicaps, Susan

has suffered substantial injury and damage.




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                                         COUNT V

(Violations of M.G.L. c. 151B, §§ 4(4) and 4(4A) – Interference With Protected Rights and
               Retaliation For Requesting Reasonable Accommodation –
                                 Against All Defendants)

        108.   Susan restates and incorporates herein by reference the allegations set forth

in paragraphs 1 through 107 above.

        109.   Susan’s requests to Defendants for accommodations, and her internal

complaints regarding MART’s failure to provide accommodations, as alleged above,

constitute activity protected from retaliation and/or interference under M.G.L. c. 151B, §§

4(4) and 4(4A.)

        110.   At all relevant times, Susan acted in good faith and was reasonable in the

requests she made to Defendants, and acted with a good-faith belief that MART’s conduct

in failing to provide reasonable accommodations was unlawful.

        111.   Defendants terminated Susan’s employment on July 12, 2011.

        112.   Defendants’ conduct as alleged herein, including without limitation

Defendants’ termination of Susan on July 12, 2011, constitutes adverse employment action

against Susan.

        113.   Susan’s protected activity, as alleged herein, was known to Defendants and

was a determinative factor in Defendants’ decision to take adverse employment action

against Susan, including without limitation Defendants’ termination of Susan on July 12,

2011.


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       114.     As a result of Defendants’ violations, Susan has suffered substantial injury

and damage.

                                          COUNT VI

    (Violations of 42 U.S.C., §§ 12203(a),(b) – Interference With Protected Rights and
    Retaliation For Requesting Reasonable Accommodation – Against MART Only)

       115.     Susan restates and incorporates herein by reference the allegations set forth

in paragraphs 1 through 114 above.

       116.     Susan’s requests to Defendants for accommodations, and her internal

complaints regarding MART’s failure to provide accommodations as alleged above,

constitute activity protected from retaliation and/or interference under 42 U.S.C., §§

12203(a),(b).

       117.     At all relevant times, Susan acted in good faith and was reasonable in the

requests she made to Defendants and acted with a good-faith belief that MART’s conduct

in failing to provide reasonable accommodations was unlawful.

       118.     Defendants terminated Susan’s employment on July 12, 2011.

       119.     Defendants’ conduct as alleged herein, including without limitation

Defendants’ termination of Susan on July 12, 2011, constitutes adverse employment action

against Susan.




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        120.   Susan’s protected activity, as alleged herein, was known to Defendants and

was a determinative factor in Defendants’ decision to take adverse employment action

against Susan, including without limitation Defendants’ termination of Susan on July 12,

2011.

        121.   As a result of MART’s violations, Susan has suffered substantial injury and

damage.

                                        COUNT VII

   (Violations of 29 U.S.C. §§ 2612, 2614 –Failure To Comply With FMLA Leave And
                   Restoration Provisions – Against All Defendants)

        122.   Susan restates and incorporates herein by reference the allegations set forth

in paragraphs 1 through 121 above.

        123.   At all relevant times, including without limitation on July 12, 2011, Cordio

and Landry were managerial-level employees of MART and exercised control, on MART’s

behalf, over the terms and conditions of Susan’s employment with MART. Said control

included without limitation the authority to terminate Susan’s employment.

        124.   At all relevant times, including without limitation on July 12, 2011, Susan

was an eligible employee of MART, as the term “eligible employee” is defined pursuant to

29 U.S.C. § 26l1(2)(a).

        125.   At all relevant times, including without limitation on July 12, 2011, Susan

was entitled to the benefits and protections of the FMLA, including without limitation (i)

the right to take up to twelve weeks of intermittent leave in 2011 and (ii) upon the
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conclusion of that leave, to be restored to the same or an equivalent position with no loss

of benefits.

       126.    At all relevant times, including without limitation on July 12, 2011,

Defendants were “employers” as the term “employer” is defined pursuant to 29 U.S.C. §

26l1(4).

       127.    When Susan was terminated on July 12, 2011, she had not exhausted the

FMLA leave to which she was entitled in 2011.

       128.    By terminating Susan on July 12, 2011, Defendants denied Susan the full

benefits to which she was entitled under the FMLA.

       129.    As a result of Defendants’ violations, Susan has suffered substantial injury

and damage.

                                        COUNT VIII

 (Violations of 29 U.S.C. §§ 2615(a)(1) and (a)(2) – Interference With And/Or Retaliation
     Against Exercise of Rights Protected Under FMLA – Against All Defendants)

       130.    Susan restates and incorporates herein by reference the allegations set forth

in paragraphs 1 through 129 above.

       131.    At all relevant times, including without limitation on July 12, 2011, Cordio

and Landry were managerial-level employees of MART and exercised control, on MART’s

behalf, over the terms and conditions of Susan’s employment with MART. Said control

included without limitation the authority to terminate Susan’s employment.



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       132.       At all relevant times, including without limitation on July 12, 2011, Susan

was an eligible employee of MART, as the term “eligible employee” is defined pursuant to

29 U.S.C. § 26l1(2)(a), and was further entitled to the benefits and protections of the FMLA.

       133.       At all relevant times, including without limitation on July 12, 2011,

Defendants were “employers” as the term “employer” is defined pursuant to 29 U.S.C. §

26l1(4).

       134.       Susan’s requests for and use of leave under the FMLA, both in 2010 and

2011, as well as Susan’s internal complaints regarding MART’s compliance with the

FMLA, constitute activity protected from retaliation and/or interference under 29 U.S.C. §

2615(a)(1),(2).

       135.       At all relevant times, Susan was reasonable in the requests she made to

Defendants, and acted with a good-faith belief that MART’s conduct was not in

compliance with the FMLA.

       136.       Defendants terminated Susan’s employment on July 12, 2011.

       137.       Defendants’ conduct as alleged herein, including without limitation

Defendants’ termination of Susan on July 12, 2011, constitutes adverse employment action

against Susan.

       138.       Susan’s protected activity, as alleged herein, was known to Defendants and

was a determinative factor in Defendants’ decision to take adverse employment action

against Susan, without limitation Defendants’ termination of Susan on July 12, 2011.


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       139.   As a result of Defendants’ violations, Susan has suffered substantial injury

and damage.

                                       JURY DEMAND

       Plaintiff Susan J. Trainor requests a jury trial on all issues so triable.

       WHEREFORE, Plaintiff Susan J. Trainor respectfully requests that this Court grant

the following relief:

       1.     Enter judgment in Plaintiff’s favor as to all Counts of the Complaint and
              award Susan all damages directly and proximately thereby;

       2.     Award Plaintiff interest, punitive damages, attorneys’ fees and costs; and

       3.     Award Susan all other and further relief that this Court deems just.

                                     SUSAN J. TRAINOR,

                                     By their attorney,



                                     _____________________________
                                     /s/ Janie Lanza Vowles
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